Case 2:02-cr-20323-.]DB Document 69 Filed 07/26/05 Page 1 of 2 Page|D 96

   

UNITED sTATEs DISTRICT COURT 1"“'*11¢=7* /M’/ 33
WESTERN DISTRICT 0F TENNESSEE y 1 w _ 29
Western Division §§ dl,li_ 26 1311 Ll° l~
UNITED sTATEs OF AMERICA m U - ' ' 116 M
1111 -11'11:3
-vs- case No. 15 2cr20323 -01 m Br¢

TARIO GRAHAM

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Crirninal .lustice Act (l 8 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' Probation/Supervised Release Violation

. . . . O?é,v‘h
DONE and ORDERED in 167 North Main, Memphis, thls day ofJuly, 2005.

1<0,11,1`,1, z ZM-

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender

lntake \anc
TARio GRAHAM 631:; 1‘“"05/

1111@130°“@3
gm
1111~111@ `111\:“"*‘ 330
=H\\§A @:\:'i EB@‘ a“d!§}l 3?‘\
111`11“3 '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:02-CR-20323 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

